                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


 ANTHONY PARKER,                                    )
                                                    )
        Plaintiff,                                  )
                                                    )
 v.                                                 )    No. 3:22-cv-00063
                                                    )
 HANKOOK TIRE                                       )    JUDGE CAMPBELL
 MANUFACTURING                                      )
 TENNESSEE, LP,                                     )
                                                    )
        Defendant.                                  )

                                              ORDER

       Plaintiff Anthony Parker, a Tennessee resident, brings a pro se employment discrimination

Complaint against Defendant Hankook Tire Manufacturing Tennessee, LP. (Doc. No. 1). On

February 2, 2022, the Court denied Plaintiff’s in forma pauperis application without prejudice

because he failed to provide a sufficiently clear picture of his income. (Doc. No. 5). The Court

explained that Plaintiff’s response to Question One (i.e., stating zero employment income over the

past twelve months) was inconsistent with Plaintiff’s response to Question Two (i.e., stating

employment income of over $5,000 per month for seven of the last twelve months). (Doc. No. 2

at 1-2). In addition, the Court found that the response to Question Two was incomplete because

Plaintiff did not provide any information regarding approximately sixteen months. (Id. at 2).

Accordingly, the Court ordered Plaintiff to pay the filing fee or submit an amended in forma

pauperis application containing “complete answers to all questions.” (Doc. No. 5 at 2). The Court

cautioned Plaintiff that failure to comply would result in dismissal. (Id.)

       On February 22, 2022, Plaintiff submitted an amended in forma pauperis application that

fails to address the Court’s stated concerns. (Doc. No. 7). Plaintiff’s responses to Questions One




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and Two concerning income are unchanged, and he makes no attempt to clarify the incomplete

response to Question Two. (Id.) In addition, Plaintiff (who is currently unemployed) indicates that

he expects impending major changes, including the receipt of unemployment benefits, but he offers

no explanation. (Id. at 5). Thus, as before, the amended application does not provide a sufficiently

clear picture of Plaintiff’s income.

        Even if the Court were to consider the amended application, however, Plaintiff does not

establish that he is entitled to pauper status. “The [in forma pauperis] statute was intended for the

benefit of those too poor to pay or give security for costs.” Adkins v. E.I. DuPont de Nemours &

Co., 335 U.S. 331, 344 (1948). Thus, Plaintiff must demonstrate that he cannot, because of poverty,

pay court costs “without undue hardship.” Foster v. Cuyahoga Dep’t of Health and Human Servs.,

21 F. App’x 239, 240 (6th Cir. 2001). According to the amended application, Plaintiff earned at

least $36,900 during the seven months prior to this action, an income level that is 272% of the

annual poverty level for a one-person household. See U.S. Dep’t of Health and Human Servs.,

POVERTY GUIDELINES       FOR   2022, https://aspe.hhs.gov/poverty-guidelines (noting 2022 poverty

level for one-person household is $13,590). (Doc. No. 7 at 2). Moreover, this income (averaging

$5,250 per month) resulted in a monthly surplus because it significantly exceeded Plaintiff’s

reported expenses ($2,490 per month).1 (Id. at 2, 5). Based on this information, Plaintiff has not

established that that he is indigent, see 28 U.S.C. § 1915(a)(1), or demonstrated that payment of

the filing fee would be an undue hardship that would deprive him of “the necessities of life.”

Adkins, 335 U.S. at 339. Rather, Plaintiff is “merely in the position of having to weigh the financial



1
         The Court utilizes the expenses described by Plaintiff in the amended application for purposes of
this analysis. (See Doc. No. 7). However, a comparison indicates that the amended application includes
hundreds of dollars of expenses not included in Plaintiff’s original application. (Compare Doc. No. 7 with
Doc. No. 2). Moreover, forty percent of Plaintiff’s expenses consists of “alimony, maintenance, and support
paid to others,” for which no explanation is offered. (Doc. No. 7 at 5).

                                                    2

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constraints posed if he pursues [this lawsuit] against the merits of the case.” Franklin v. Johnson

Control/Adient, No. 3:19-cv-01174, 2020 WL 996913, at *1-2 (M.D. Tenn. Mar. 2, 2020) (quoting

Glover v. Colvin, No. CIV.A. 2014-216-WOB, 2015 WL 417988, at *2 (E.D. Ky. Jan. 30, 2015)

(citation omitted)).

       Accordingly, the amended in forma pauperis application (Doc. No. 7) is DENIED. See

Foster, 21 F. App’x at 240 (affirming denial of pauper status based on income of approximately

$42,000); Franklin, 2020 WL 996913, at *1-2 (denying pauper status, despite lack of cash and

substantial expenses, because income of $5,000 per month significantly exceeded household

poverty-level). To continue this action, Plaintiff MUST submit the $402.00 filing fee to the Clerk

of Court within 30 DAYS of the date this order is entered on the docket. 28 U.S.C. § 1914. Failure

to comply or request an extension by the deadline will result in dismissal of this action for failure

to prosecute and failure to comply with the Court’s order. Fed. R. Civ. P. 41(b).

       It is so ORDERED.




                                              ______________________________________
                                              WILLIAM L. CAMPBELL, JR.
                                              UNITED STATES DISTRICT JUDGE




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